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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                               Plaintiffs,

        – versus –                                        Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as Secretary
                                                          PUBLIC VERSION
 of Homeland Security, et al.,

                               Defendants.

                 NOTICE OF TRUE IDENTITIES OF DOE PLAINTIFFS

       Pursuant to this Court’s order dated April 2, 2025, Doc. No. 79 at 5, Plaintiffs provide

(under seal) the true identities of those individuals who have been granted leave by the Court to

proceed under pseudonyms, see Doc. Nos. 8, 43, & 69, in the attached Exhibit A.
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Dated: April 3, 2025                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 3, 2025

                                              /s/ John A. Freedman
                                              John A. Freedman




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                EXHIBIT A
                        [FILED UNDER SEAL]
